                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                          DOCKET NO. 3:11-CV-213-FDW-DCK
 THOMAS GREGORY SANDERLIN and                         )
 LAURA DENISE BRADSHAW,                               )
                                                      )
                 Plaintiffs,                          )
                                                      )
         vs.                                          )                   ORDER
                                                      )
 HUTCHENS, SENTER & BRITTON, P.A.,                    )
 et al.,                                              )
                                                      )
                 Defendants.                          )

       THIS MATTER is before the Court on pro se Plaintiffs’ Verified Complaint and Motion for

Temporary Restraining Order (“Motion for TRO”) (Doc. No. 1) and Motion to Proceed in forma

pauperis (“IFP Application”) (Doc. No. 2). For the reasons explained below, the Court GRANTS

Plaintiffs’ IFP Application for the limited purpose of reviewing the Complaint and Motion for TRO.

Because this Court lacks subject-matter jurisdiction, the Court DENIES Plaintiffs’ Motion for TRO

and DISMISSES Plaintiffs’ Complaint sua sponte against all named Defendants.

I.     Motion to Proceed in forma pauperis

       By the instant IFP Application, Plaintiffs Thomas Gregory Sanderlin and his wife, Laura

Denise Bradshaw, seek to proceed on their Complaint without having to prepay the costs associated

with bringing this action.

       In support of this request, Plaintiff Sanderlin has submitted an application which reflects that

he has been unemployed for the past 18 months, and provides an accounting of his assets. Plaintiff’s

monthly bills total over $2,000.00 and Plaintiff contends that he has spent all of his savings, while

unemployed, trying to keep his bills current and that he is currently out of money. Plaintiff has three

sons under the age of 18 whom rely upon him for support.



     Case 3:11-cv-00213-FDW-DCK              Document 3        Filed 05/03/11       Page 1 of 5
        Based on the foregoing representations, the Court finds that the Plaintiff does not have

sufficient resources from which to pay the $350.00 filing fee for this action. Consequently, the

Plaintiff’s Application is GRANTED.

II.     Motion for Temporary Restraining Order

        Plaintiffs filed suit on May 2, 2011, and in their Verified Complaint moved for a Temporary

Restraining Order (“TRO”) seeking to enjoin the foreclosure sale of the property at 1335 Spencer

Mountain Road, Gastonia, North Carolina, 28054, set to occur on May 4, 2011.

        Notably lacking from Plaintiffs’ Complaint and Motion for TRO is any allegation of subject

matter or personal jurisdiction, aside from a conclusory statement that jurisdiction is proper

“[b]ecause of the important Federal Questions involved herein.” (Doc. No. 1 at 6); Fed. R. Civ. P.

8(a)(1). Subject-matter jurisdiction involves the Court’s power to hear a case and thus the Court has

an independent obligation to determine whether it has jurisdiction to consider the merits of a case

“even in the absence of a challenge from any party.” Arbaugh v. Y&H Corp., 546 U.S. 500, 514

(2006) (citation omitted). Furthermore, “[f]ederal courts are courts of limited jurisdiction. They

possess only that power authorized by Constitution and statute, which is not to be expanded by

judicial decree. It is to be presumed that a cause lies outside this limited jurisdiction, and the burden

of establishing the contrary rests upon [Plaintiffs].” Kokkonen v. Guardian Life Ins. Co. of Am.,

511 U.S. 375, 377 (1994) (citations omitted). Specifically, for this Court to have subject matter

jurisdiction, Plaintiffs must satisfy the requirement of 28 U.S.C. § 1331, which provides the district

courts with jurisdiction over “all civil actions arising under the Constitution, laws, or treaties of the

United States.” Alternatively, this Court may have jurisdiction under 28 U.S.C. § 1332, diversity

jurisdiction, which provides jurisdiction over all civil actions “where the matter in controversy

exceeds the sum or value of $75,000, exclusive of interests of costs and is between [] citizens of

                                                   2


      Case 3:11-cv-00213-FDW-DCK              Document 3         Filed 05/03/11      Page 2 of 5
different States . . . .” To satisfy this statute, each Defendant, including corporations, must be

citizens of a different state than Plaintiffs. See, e.g., Exxon Mobil Corp. v. Allapattah Serv., Inc.,

545 U.S. 546, 553-54 (2005).

        Having reviewed Plaintiffs’ Complaint and Motion for TRO, the Court concludes it does not

have subject matter jurisdiction to consider Plaintiffs’ case and therefore cannot issue the injunction

Plaintiffs seek. Although Plaintiffs do not assert subject matter jurisdiction pursuant to a specific

statute, Plaintiffs’ claims against Defendants arise under state law and do not implicate a federal

question, despite Plaintiffs’ conclusory allegation to the contrary. Specifically, Plaintiffs allege that

Defendants, who have initiated non-judicial foreclosure proceedings against Plaintiffs, are not the

real parties in interest to Plaintiffs’ mortgage and do not have standing to foreclose. Plaintiffs allege

that Defendants “are not the holders of any instrument, note, mortgage or otherwise, that give them

authority to engage in or continue the pending sale [sic].” (Compl. ¶ 6). The validity of a mortgage

note and deed of trust are issues governed by state law. See, e.g., In re American Appliance, 272

B.R. 587, 596 (Bankr. D.N.J. 2002) (citing Butner v. United States, 440 U.S. 48 (1979)). Likewise,

the negotiability of an instrument and holder-in-due-course status are questions of state law. See

N.C. Gen. Stat. § 25-3-104, et seq.; Resolution Trust Corp. V. Maplewood Invs., 31 F.3d 1276, 1289

(4th Cir. 1994) (applying Virginia law to determine whether a note is a negotiable instrument).

        Although it is well-established that federal courts enjoy federal question jurisdiction over

some state law claims, the scope of jurisdiction has been limited to those claims that “‘really and

substantially involv[e] a dispute or controversy respecting the validity, construction, or effect of

[federal] law.’” Grable & Sons Metal Prod., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 313 (2005)

(quoting Shulthis v. McDougal, 225 U.S. 561, 569 (1912)). Plaintiffs have not asserted any claims

that implicate the validity, construction, or effect of federal law. Nor have Plaintiffs alleged any

                                                   3


     Case 3:11-cv-00213-FDW-DCK               Document 3         Filed 05/03/11      Page 3 of 5
facts from which the Court may infer that the mortgage on Plaintiffs’ property is protected by

federal statutes such as the Home Ownership Equity Protection Act, 15 U.S.C. § 1639; the Single

Family Mortgage Foreclosure Act of 1994, 12 U.S.C. § 3751, et seq.; or the National Housing Act,

12 U.S.C. § 1702, et seq. In short, Plaintiffs have not asserted a federal question and instead only

raise state law claims challenging Defendants’ standing to foreclose.1

        Accordingly, this Court may only exercise subject matter jurisdiction over Plaintiffs’ cause

if the requirements of diversity jurisdiction are satisfied. Although the Complaint contains no

allegations regarding the amount in controversy, even assuming the amount exceeds $75,000 as it

must, Plaintiffs have not satisfied the complete diversity requirement. Specifically Plaintiffs and

Defendant Hutchens, Senter & Britton, P.A. are both citizens of North Carolina. (Doc. No. 1 at 9).

Thus, this Court lacks jurisdiction to consider Plaintiffs’ state law claims. Exxon Mobil Corp., 545

U.S. at 553-54.

        Because this Court lacks subject-matter jurisdiction to consider Plaintiffs’ claims, the Court

cannot provide Plaintiffs with the injunctive relief it seeks. Despite Plaintiffs’ conclusory allegation

that the “laws and procedures available . . . in the State of North Carolina miserably fail to provide

an adequate judicial remedy” (Doc. No. 1 at 6), Plaintiffs may sue to enjoin the foreclosure sale in

state court pursuant to N.C. Gen. Stat. § 45-21.34. Mosler ex rel. Simon v. Druid Hills Land Co.,

Inc., 681 S.E.2d 456, 458 (N.C. Ct. App. 2009). Accordingly, Plaintiffs’ Complaint is DISMISSED.

Plaintiffs’ Motion for TRO is DENIED for lack of jurisdiction.




        1
          Plaintiffs allege that “on information and beliefs [sic] . . . the Defendants have distributed an
unregistered security in gross violation of the Securities Act of 1933 and Title 18 USC Sec 474 [sic].” (Doc.
No. 1 at 6). However, neither of these statutes are applicable and thus are insufficient to invoke subject
matter jurisdiction.

                                                     4


     Case 3:11-cv-00213-FDW-DCK                 Document 3         Filed 05/03/11        Page 4 of 5
III.    Conclusion

        IT IS THEREFORE ORDERED:

        1)     Plaintiffs’ Application to Proceed in District Court Without Prepaying Fees or Costs

               (Doc. No. 2) is GRANTED.

        2)     Plaintiffs’ Verified Complaint and Motion for Temporary Restraining Order (Doc.

               No. 1) is DENIED and DISMISSED for lack of subject matter jurisdiction.

        The Clerk is directed to close this case.

        IT IS SO ORDERED.

                                                    Signed: May 3, 2011




                                                    5


       Case 3:11-cv-00213-FDW-DCK            Document 3        Filed 05/03/11   Page 5 of 5
